     Case: 1:21-cv-04976 Document #: 65 Filed: 06/30/23 Page 1 of 3 PageID #:757




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

G.T., by and through next friend                )
LILIANA T. HANLON, et al., individually )
and on behalf of all others similarly situated, )
                                                )
                       Plaintiffs,              )       Case No. 1:21-cv-04976
               v.                               )
                                                )       Hon. Nancy L. Maldonado
SAMSUNG ELECTRONICS AMERICA, )
INC., et al.,                                   )
                                                )
                       Defendants.              )

                PLAINTIFFS’ NOTICE OF SUPPLEMENTAL AUTHORITY

         Plaintiffs respectfully notify this Court of the recent opinion in Colombo v. Youtube, LLC,

No. 3:22-cv-06987-JD, 2023 U.S. Dist. LEXIS 111574 (N.D. Cal. June 28, 2023), a copy of which

is attached as Exhibit 1. Plaintiffs submit this Notice and authority in support of Plaintiffs’

Response in Opposition to Defendants’ Motion to Dismiss (ECF No. 62).

         Colombo is directly relevant to Plaintiffs’ argument on Page 25 of 29 that alleging a scan

of face geometry was involved adequately pleads a “biometric identifier” as defined by 735 ILCS

14/10 without additional allegations that the scan of face geometry identifies a particular individual

or was actually used to do so. See Colombo, 2023 U.S. Dist. LEXIS 111574 at *7 (“In YouTube’s

view, biometric identifiers must identify a person and biometric information must actually be used

to identify a person. . . . The point is not well taken. BIPA defines ‘biometric identifier’ as ‘a retina

or iris scan, fingerprint, voiceprint, or scan of hand or face geometry.’ When a statute includes an

explicit definition, we must follow that definition, even if it varies from a term’s ordinary

meaning.”) (internal citations and certain quotation marks omitted).




                                                    1
151240
     Case: 1:21-cv-04976 Document #: 65 Filed: 06/30/23 Page 2 of 3 PageID #:758




Dated: June 30, 2023
                                       Respectfully submitted,

                                       G.T., BY AND THROUGH NEXT FRIEND LILIANA T.
                                       HANLON, SHIMERA JONES, LEROY JACOBS, BALARIE
                                       COSBY-STEELE, JOHN DEMATTEO, RICHARD
                                       MADAY, MARK HEIL, ALLISON THURMAN, AND
                                       SHERIE HARRIS, individually and on behalf of all
                                       others similarly situated, Plaintiffs

                                       By: /s/ Theodore H. Kuyper

                                       Keith J. Keogh
                                       Theodore H. Kuyper
                                       Gregg M. Barbakoff
                                       KEOGH LAW, LTD.
                                       55 W. Monroe Street, Suite 3390
                                       Chicago, Illinois 60603
                                       (312) 726-1092
                                       keith@keoghlaw.com
                                       tkuyper@keoghlaw.com
                                       gbarbakoff@keoghlaw.com

                                       Christian Levis (pro hac vice forthcoming)
                                       Amanda Fiorilla (pro hac vice forthcoming)
                                       Rachel Kesten (pro hac vice forthcoming)
                                       LOWEY DANNENBERG, P.C.
                                       44 South Broadway, Suite 1100
                                       White Plains, New York 10601
                                       (914) 997-0500
                                       clevis@lowey.com
                                       afiorilla@lowey.com
                                       rkesten@lowey.com

                                       Attorneys for Plaintiffs and the Putative Class




                                          2
151240
     Case: 1:21-cv-04976 Document #: 65 Filed: 06/30/23 Page 3 of 3 PageID #:759




                                CERTIFICATE OF SERVICE

       I hereby certify that, on June 30, 2023, I caused a copy of the foregoing Plaintiffs’ Notice
of Supplemental Authority to be served upon all counsel of record via electronic filing using the
CM/ECF system.


                                                      /s/ Theodore H. Kuyper




151240
